                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                        )
 et al.,                                             )
                                                     )
                   Plaintiffs and                    )
                   Counterclaim Defendants,          )
                                                     )
 v.                                                  )        Case No. 4:16-cv-02163
                                                     )
 PEOPLE FOR THE ETHICAL                              )
 TREATMENT OF ANIMALS, INC., et al.,                 )
                                                     )
                   Defendants and                    )
                   Counterclaim Plaintiffs.          )

 COUNTERCLAIM PLAINTIFF PEOPLE FOR THE ETHICAL TREATMENT OF
        ANIMALS’ INTERROGATORIES TO COUNTERCLAIM
                 DEFENDANT ANDREW SAWYER
       Pursuant to Federal Rule of Civil Procedure 33, Counterclaim Plaintiffs People for the

Ethical Treatment of Animals, Inc. and Angela Scott propound the following interrogatories to

Counterclaim Defendant Andrew Sawyer, to be answered, and verified, in accordance with the

federal and local rules and within thirty days of service hereof.

                                         DEFINITIONS

       The words “you” and “your” shall mean Andrew Sawyer and anyone acting as your
representative(s) and/or on your behalf with respect to the matters that are the subjects of these

interrogatories.

       “Joey” shall mean the chimpanzee owned by you, who was previously confined at

Missouri Primate Foundation.




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                                    INTERROGATORIES

       Interrogatory No. 1. Identify all locations where Joey has been confined since

November 2, 2010.

RESPONSE:



       Interrogatory No. 2. With respect to each location identified in response to

Interrogatory No.1, state the reason(s) why Joey did not remain at that location.

RESPONSE:



       Interrogatory No. 3. Identify all persons with knowledge of the circumstances and

reasons why Joey was moved to and/or from each of the locations identified in response to

Interrogatory No. 1.

RESPONSE:



       Interrogatory No. 4. If you contend that while Joey was confined at Missouri Primate

Foundation, he was provided with adequate opportunities for social interactions typical of his

species, state all facts on which you base your contention.

RESPONSE:



       Interrogatory No. 5. If you contend that presently, Joey is being provided with adequate

opportunities for social interactions typical of his species, state all facts on which you base your

contention.

RESPONSE:



       Interrogatory No. 6. If you contend that while Joey was confined at Missouri Primate

Foundation he was provided with adequate species-appropriate psychological and environmental

enrichment or stimulation, state all facts on which you base your contention.

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RESPONSE:



       Interrogatory No. 7. If you contend that presently, Joey is being provided with adequate

species-appropriate psychological and environmental enrichment or stimulation, state all facts on

which you base your contention.

RESPONSE:



       Interrogatory No. 8. If you contend that while Joey was confined at Missouri Primate

Foundation, he was kept in a sanitary environment, state all facts on which you base your

contention.

RESPONSE:



       Interrogatory No. 9. If you contend that presently, Joey is kept in a sanitary

environment, state all facts on which you base your contention.

RESPONSE:



       Interrogatory No. 10.         If you contend that while Joey was confined at Missouri

Primate Foundation, he was provided a wholesome and nutritious diet, state all facts on which

you base your contention.

RESPONSE:



       Interrogatory No. 11.         If you contend that presently, Joey is provided a

wholesome and nutritious diet, state all facts on which you base your contention.

RESPONSE:




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       Interrogatory No. 12.          If you contend that while Joey was confined at Missouri

Primate Foundation, he received adequate veterinary care, state all facts on which you base your

contention.

RESPONSE:



       Interrogatory No. 13.          If you contend that presently, Joey receives adequate

veterinary care, state all facts on which you base your contention.

RESPONSE:



       Interrogatory No. 14.          Identify every veterinarian or other animal health care

practitioner who has examined, evaluated, treated, or been consulted about, Joey, during the past

five years.

RESPONSE:



       Interrogatory No. 15.          Identify each person who was consulted, or who has

provided substantive information in connection with responding to these Interrogatories.

RESPONSE:



       Interrogatory No. 16.          Identify by name and last known address, all persons who

are presently or in the past five years were involved in caring for Joey (including feeding him,

monitoring his health, and maintaining and cleaning his enclosures).

RESPONSE:



       Interrogatory No. 17.          Identify all sources and expert information you consulted or

considered in order to determine what conditions of confinement are sufficient to meet the needs

of chimpanzees in captivity, and state the date(s) you first learned of the information.

RESPONSE:

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       Interrogatory No. 18.          Identify all signs and symptoms of which you are aware

that may indicate that a chimpanzee in captivity is suffering from stress, trauma, or other aspects

of poor mental health.

RESPONSE:




Dated: June 6, 2018                           Respectfully submitted,

                                              /s/ Martina Bernstein
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                                              Attorneys for Defendants/
                                              Counterclaim Plaintiffs




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                                       VERIFICATION


       I, ______________________________, hereby verify under penalty of perjury under the

laws of the United States of America that the foregoing answers are true and correct to the best of

my knowledge, information, and belief.

       Executed on ________________, 2018.



                                            _____________________________

                                            Name



                                            _____________________________

                                            Title




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                              CERTIFICATE OF SERVICE


       I certify that on June 6, the foregoing interrogatories were served by electronic mail and

regular mail as follows:

       Geordie Duckler, geordied@animallawpractice.com
       Attorney for Plaintiff/Counterclaim Defendant Andrew Sawyer

       Brian Klar, bklar@lawsaintlouis.com
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                                                     /s/ Jared Goodman




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